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    9 Marine and General Insurance Company
  10                        UNITED STATES DISTRICT COURT
  11             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 Travelers Commercial Insurance           Case No. 2:21-cv-5832-GW (PDx)
     Company, a Connecticut Corporation,
  14                                          [PROPOSED] ORDER GRANTING
                  Plaintiff,                  NEW YORK MARINE AND
  15                                          GENERAL INSURANCE
           v.                                 COMPANY LEAVE TO FILE
  16                                          STIPULATED AMENDED
     New York Marine and General              ANSWER TO TRAVELERS’ FIRST
  17 Insurance Company, a Delaware            AMENDED COMPLAINT AND
     Corporation,                             AMENDED COUNTERCLAIM
  18
                  Defendant.
  19                                          Hon. George H. Wu
  20 New York Marine and General
     Insurance Company, a Delaware
  21 corporation
  22                Counter-Claimant
  23        v.
  24 Travelers Commercial Insurance
     Company, a Connecticut corporation,
  25
     Counter-Defendant
  26
  27
  28

         [PROPOSED] ORDER GRANTING NEW YORK MARINE LEAVE TO FILE STIPULATED AMENDED
           ANSWER TO TRAVELERS’ FIRST AMENDED COMPLAINT AND AMENDED COUNTERCLAIM
Case 2:21-cv-05832-GW-PD Document 94-1 Filed 01/13/23 Page 2 of 3 Page ID #:1390




    1               GOOD CAUSE EXISTING, it is Ordered that:
    2               New York Marine and General Insurance Company may file the stipulated
    3 Amended Answer to Travelers’ First Amended Complaint and Amended
    4 Counterclaim.
    5               IT IS SO ORDERED.
    6 DATED: January ___, 2022
    7
    8
                                                Hon. George H. Wu
    9
                                                United States District Court Judge
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        8688448.1

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             [PROPOSED] ORDER GRANTING NEW YORK MARINE LEAVE TO FILE STIPULATED AMENDED
               ANSWER TO TRAVELERS’ FIRST AMENDED COMPLAINT AND AMENDED COUNTERCLAIM
Case 2:21-cv-05832-GW-PD Document 94-1 Filed 01/13/23 Page 3 of 3 Page ID #:1391




    1                                 PROOF OF SERVICE
    2   Travelers Commercial Insurance Company v. New York Marine and General
                                  Insurance Company
    3
        STATE OF CALIFORNIA, COUNTY OF FRESNO
    4
            At the time of service, I was over 18 years of age and not a party to this action.
    5 I am employed in the County of Fresno, State of California. My business address is
      7647 North Fresno Street, Fresno, CA 93720.
    6
            On January 13, 2023, I served true copies of the following document(s)
    7 described as [PROPOSED] ORDER GRANTING NEW YORK MARINE AND
      GENERAL INSURANCE COMPANY LEAVE TO FILE STIPULATED
    8 AMENDED ANSWER TO TRAVELERS’ FIRST AMENDED COMPLAINT
      AND AMENDED COUNTERCLAIM on the interested parties in this action as
    9 follows:
  10 Mark D. Peterson                        Kirk Pasich
     Kathleen O. Peterson                    Kayla Robinson
  11 Amy Howse                               Pasich LLP
     Cates Peterson LLP                      10880 Wilshire Blvd., Suite 2000
  12 4100 Newport Place, Suite 230           Los Angeles, CA 90024
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  14 kpeterson@catespeterson.com
     ahowse@catespeterson.com                Attorneys for Non-Party Amber Heard
  15
     Attorneys    for   Plaintiff  Travelers
  16 Commercial Insurance Company
  17        BY ELECTRONIC SERVICE (E-MAIL): Based on a court order or an
     agreement of the parties to accept electronic service, my electronic service address is
  18 heather.ward@mccormickbarstow.com, and I caused the document(s) to be sent to
     the persons at the electronic service address(es) listed in the Service List. I did not
  19 receive, within a reasonable time after the transmission, any electronic message or
     other indication that the transmission was unsuccessful.
  20
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  21 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
  22 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
  23
            I declare under penalty of perjury under the laws of the United States of
  24 America that the foregoing is true and correct and that I am employed in the office of
     a member of the bar of this Court at whose direction the service was made.
  25
            Executed on January 13, 2023, at Fresno, California.
  26
  27                                                   /s/ Heather Ward
                                                Heather Ward
  28

        [PROPOSED] ORDER ON NEW YORK MARINE AND GENERAL INSURANCE COMPANY’S MOTION FOR
                              LEAVE TO FILE AMENDED COUNTERCLAIM
